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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                                                 :
             v.                                  :      Case No. 21-cr-26 (CRC)
                                                 :
CHRISTOPHER MICHAEL ALBERTS,                     :
                                                 :
        Defendant.                               :

                  JOINT STATUS REPORT AND MOTION TO CONTINUE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Allen Orenberg, counsel for the defendant, Christopher

Michael Alberts, hereby submit the following Joint Status Report and continuance request:

       Pursuant to the Court’s guidance at the last status hearing on September 21, 2021, the

parties conferred and submit the following:

       1. On September 8, 2021 Mr. Allen Orenberg, Esq., was appointed by the court to replace

           Mr. John Kiyonaga and represent the defendant.

       2. A status hearing was conducted on September 21, 2021, at which the parties jointly

           requested a further status date to allow the government time to continue providing

           discovery, the defendant time to consider the outstanding plea offer, and Mr. Orenberg

           time to familiarize himself with the case.

       3. To date the government has provided voluminous discovery to the defendant, however

           that process is ongoing. Moreover, the defense is still in the process of reviewing

           recently received discovery.

       4. As a result of the above representations, the parties are jointly requesting the Court

           continue the currently scheduled status hearing for a period of 60-90 days.
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5. Moreover, the parties jointly recommend the following dates for a continued status

      hearing in this case: January 25, January 27, and February 8, 2022. If these dates are

      not available with the Court the parties will confer and submit additional dates as

      necessary.

6. For the reasons outlined in the Court’s November 1, 2021 Order, the parties further

      believe it is in the interest of justice to toll the Speedy Trial Act while the government

      continues to produce discovery, the defense continues to review discovery, and the

      parties work through plea negotiations. Therefore, the parties thus request a tolling of

      the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A), based on the factors

      described in 18 U.S.C. 3161(h)(7)(B)(i), (ii), and (iv). Therefore, the parties request an

      exclusion of time under the Speedy Trial Act from November 10, 2021, through the

      next scheduled status date.

Respectfully submitted,


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Acting United States Attorney

By:                           /s/

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                              /s/

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